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                                       2
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                                       6   Attorneys for Plaintiff
                                       7
                                       8                       IN THE UNITED STATES DISTRICT COURT

                                       9                             FOR THE DISTRICT OF ARIZONA

                                      10
                                           Ronald H. Pratte,                                   Case No. 2:19-cv-00239-PHX-GMS
                                      11
                                                                                               PLAINTIFF RONALD PRATTE’S
7150 East Camelback Road, Suite 285




                                      12                        Plaintiff,                     SEPARATE STATEMENT OF FACTS
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                                                                               IN SUPPORT OF HIS MOTION FOR
                                      13   vs.                                                 SUMMARY JUDGMENT
           (480) 421-1001




                                      14   Jeffrey Bardwell and Fanny F. Bardwell,
                                      15   husband and wife,

                                      16                        Defendants.
                                      17
                                      18          Plaintiff Ronald H. Pratte submits the following Statement of Facts in Support of
                                      19   Motion of his Motion for Summary Judgment:
                                      20          1.     In or about early 2002, Bardwell put his resume on monster.com. (J.
                                      21   Bardwell Depo. (3/6/20), attached as Exhibit 1, at 16:9-18:9.)
                                      22          2.     Sometime after placing his resume on monster.com, he got a call to meet
                                      23   with Jaime Ziparo about a job running a lumberyard in Phoenix. (J. Bardwell Depo.
                                      24   (3/6/20), attached as Exhibit 1, at 18:10-20:12.)
                                      25          3.     Bardwell ended up accepting the job and was in that role from 2002 until
                                      26   2005. (J. Bardwell Depo. (3/6/20), attached as Exhibit 1, at 21:24-22:4.)
                                      27          4.     During that time, the lumberyard grew in both employees and the kinds of
                                      28   work being done. (J. Bardwell Depo. (3/6/20), attached as Exhibit 1, at 29:15-25.)

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                                       1          5.      Ron Pratte owned the lumberyard and Bardwell first met Mr. Pratte around

                                       2   the time he was hired, in either 2002 or 2003. (J. Bardwell Depo. (3/6/20), attached as

                                       3   Exhibit 1, at 31:7-23.)

                                       4          6.      Soon after, Bardwell began receiving invitations to the Dunes, an area

                                       5   located in Winterhaven, California, about 25 miles West of Yuma, Arizona, where Ron

                                       6   Pratte and others would ride sand rails and camp. (J. Bardwell Depo. (3/6/20), attached as

                                       7   Exhibit 1, at 31:18-34:5.)

                                       8          7.      Soon Bardwell was getting invited to the Dunes every time Mr. Pratte

                                       9   would go. (Id.)

                                      10          8.      During “that time [Bardwell] was employed at Pratte Building Systems, a

                                      11   business jointly owned or controlled by Pulte Homes and Plaintiff.” (Defendants’ First
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                                      12   Amended Mandatory Initial Discovery Responses at 13, attached as Exhibit 2.)
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                                      13          9.      “In 2005, Pulte Homes fully acquired the business from Plaintiff [Mr.
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                                      14   Pratte] for a substantial sum of money.” (Id.)

                                      15          10.     In December 2005, Mr. Pratte gathered Bardwell, Jaime Ziparo, Justin

                                      16   Pratte, Todd Carriere, and Trevor Pratte for a meeting at a North Las Vegas airport. (R.

                                      17   Pratte Dep. (2/27/20), attached as Exhibit 3, at 20:8-21:5.)

                                      18          11.     Bardwell was the only attendee who was not connected to Mr. Pratte by

                                      19   family relation. (Defendants’ First Amended Mandatory Initial Discovery Responses at

                                      20   13, attached as Exhibit 2.)

                                      21          12.     At that time, Mr. Pratte handed each attendee, including Mr. Bardwell, a $2

                                      22   million check. (R. Pratte Dep. (2/27/20) at 22:19-23:5.)

                                      23          13.     He also indicated that he wanted the group to form a building company

                                      24   with that money. (R. Pratte Dep. (2/27/20), attached as Exhibit 3, at 22:19-25:7.)

                                      25          14.     Prior to that meeting, Mr. Pratte entered into a fairly simple agreement with

                                      26   Bardwell. As Mr. Pratte explained:

                                      27               Q. And what was it -- what was your understanding with respect to the $2
                                                       million you gave Jeff Bardwell?
                                      28

                                                                                      2
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                                                     A. It was a verbal contract that Jeff Bardwell would work for me until I
                                       1             died.
                                       2   (R. Pratte Dep. (2/27/20), attached as Exhibit 3, at 27:14-24.)
                                       3          15.    At the meeting in North Las Vegas, Mr. Pratte announced the deal he had
                                       4   agreed to with Bardwell in front of Bardwell and the rest of the group. (R. Pratte Dep.
                                       5   (2/27/20), attached as Exhibit 3, at 28:22-29:7; see also id. at 47:21-48:9.)
                                       6          16.    Bardwell agreed. (R. Pratte Dep. (2/27/20), attached as Exhibit 3, at 48:6-
                                       7   24.)
                                       8          17.    In addition to the $2 million check, in the months after that meeting, Mr.
                                       9   Pratte transferred several properties to the group consisting of Bardwell, Jaime Ziparo,
                                      10   Justin Pratte, Todd Carriere, and Trevor Pratte. (R. Pratte Dep. (2/27/20), attached as
                                      11   Exhibit 3, at 35:16-37:5.)
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                                      12          18.    This group set up various companies to receive each of several properties
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                                      13   and Mr. Pratte transferred properties into the various entities. (Id.)
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                                      14          19.    Mr. Pratte transferred via quit claim deed a property located at 600 N. 94th
                                      15   Ave, Tolleson, Arizona. This property was appraised on July 27, 2006 for $14,790,000
                                      16   and was transferred to a Pratte Land Holdings LLC, a company in which Bardwell owned
                                      17   20%. Mr. Pratte also transferred via quit claim deed a property located in Buckeye,
                                      18   Arizona. This property was appraised on October 12, 2006 for $3,798,000 and was
                                      19   transfer to Pratte Buckeye Property LLC, a company in which Bardwell owned 20%. Mr.
                                      20   Pratte also transferred via quit claim deed a property located at 2900 E. Lone Mountain
                                      21   Road, North Las Vegas, Nevada. This property was appraised on May 1, 2006 for
                                      22   $8,100,000.00 and was transferred to a Pratte Loan Mountain LLC, a company in which
                                      23   Bardwell owned 20%. (Expert Report of B. Taylor at 4-5, attached as Exhibit 4.)
                                      24          20.    In addition to these transfers, Ron Pratte paid the taxes on all of the assets
                                      25   he paid to Bardwell. (Id. at 6.)
                                      26          21.    Todd Carriere testified, “I recall [Mr. Pratte saying]: Jeff works for me until
                                      27   I'm gone. And Jeff never saying anything different. And I recall on various occasions Jeff
                                      28   and I having discussions about how long could Ron live. You know, Jeff would come in

                                                                                       3
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                                       1   and be, like: Man, I’m going to be working until I’m 80 years old out there at the dunes.”

                                       2   (T. Carriere Dep. (12/5/19), attached as Exhibit 5, at 248:22-250:4.)

                                       3          22.    Jaime Ziparo testified:

                                       4             Q. Do you remember Ron telling Jeff at the airport that I’ll give you this
                                                     gift, but you've got to work for me for life?
                                       5
                                       6             A. Until he dies. Until Ron dies, I remember that.

                                       7             Q. Is that what Ron said?
                                       8             A. Yeah.
                                       9             Q. I’m asking you.
                                      10
                                                     A. Yes, that’s what he said.
                                      11
                                           (J. Ziparo Depo. (12/4/19), attached as Exhibit 6, at 222:21-223:14; see also 206:1-10;
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                                      12
                                           258:14-259:19.)
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                                      13
                                                         Justin Pratte testified: “[I]t was made clear to us that -- and very clear to
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                                                  23.
                                      14
                                           Jeff that if he wanted to go forward in this venture, the four of us in Pratte Companies
                                      15
                                           would fund any expenses necessary for Jeff to operate in a facet -- or in a manner to
                                      16
                                           which his sole responsibility was to do whatever Ron asked him to do.” (J. Pratte Dep.
                                      17
                                           (11/26/19), attached as Exhibit 7, at 31:7-32:22.)
                                      18
                                                  24.    He also testified, “And I remember very vividly that the structure -- or the
                                      19
                                           notion of Jeff working for Ron was: Jeff -- and these were Ron's words. Jeff, you work
                                      20
                                           for me and whatever I need for the rest of my life.” (Id. at 32:23-33:3.)
                                      21
                                                  25.    Bardwell “responded affirmatively, that he would. And after that, I
                                      22
                                           remember all of us having direct conversation with Jeff, reminding him what he was
                                      23
                                           signing up for. And I had many conversations with Jeff. Please be sure that you're aware
                                      24
                                           of what you’re signing up for.” (Id. at 33:4-14; see also J. Ziparo Dep. (12/4/19), attached
                                      25
                                           as Exhibit 6, at 247:18-248:12 (testifying to discussions with Bardwell regarding being
                                      26
                                           sure about the task he was agreeing to).)
                                      27
                                      28

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                                       1          26.    Bardwell’s friend Larry Yonker testified, “From Mr. Bardwell’s account,

                                       2   [the verbal contract] was until – work for Ron until he died. . . . [f]or money up front.” (L.

                                       3   Yonker Dep. (2/14/20), attached as Exhibit 8, at 42:6-43:14; see also id. at 47:12-48:4.)

                                       4          27.    Bardwell’s friend and neighbor Jeff Abendschein testified that Bardwell

                                       5   tired of working for Mr. Pratte but stayed on “[b]ecause he had a contract with him. He

                                       6   was supposed to work for him until Ron passed and that was their verbal agreement.” (J.

                                       7   Abendschein Dep. (2/13/20), attached as Exhibit 9, at 44:15-46:8; see also id. at 63:10-

                                       8   19.)

                                       9          28.    When Bardwell showed Abendschein the $2 million check Bardwell had

                                      10   received from Mr. Pratte, Bardwell described it as “[l]ike a sign-on bonus to come work

                                      11   for [Mr. Pratte].” (Id. at 44:15-46:8; see also id. at 77:8-78:2.)
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                                      12          29.    Daryl Wolfswinkel, a friend of Mr. Pratte and Bardwell, testified:
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                                      13   “[Bardwell] said: This is the deal I made with Ron, that I get treated the same as the rest
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                                      14   of the boys, but I have to work for Ron for the rest of my life.” (D. Wolfswinkel Dep.

                                      15   (2/13/20), attached as Exhibit 10, at 61:14-62:20.)

                                      16          30.    Bardwell did not dispute that these conversations took place. (See

                                      17   Paragraphs 31-34 below.)

                                      18          31.    For example, he testified:

                                      19             Q. Okay. So you think you may have told Mr. Ziparo, Jaime, that,
                                                     hey, I’m going to work for this man for the rest of my life?
                                      20
                                      21             MR. MARLOWE: Objection, misstates.

                                      22             THE WITNESS: You know, it’s -- could I have said, hey, I’m so
                                                     thankful and I’ll do whatever this man needs, probably. But did I
                                      23             have a contract with him to work for Ron his whole life, I did not.
                                      24   (J. Bardwell Depo. (3/6/20), attached as Exhibit 1, at 181:7-14; see also id. at
                                      25   182:11-19.)
                                      26          32.    Bardwell also testified:
                                      27
                                                     You know, could I have told him, hey, Ron made a life changing
                                      28             gift to me and I’m going to work for that man for the rest of my life?
                                                     Could I have said that? You know, we were in opening companies.
                                                                                       5
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                                                    Okay. And my role in the company, in Stellar Development, was to
                                       1            -- and the other entities was to take care of Ron.
                                       2
                                           (J. Bardwell Depo. (3/6/20), attached as Exhibit 1, at 180:15-25.)
                                       3
                                                  33.    Bardwell conceded that his role in the new companies was to work for Ron:
                                       4
                                           “Ron was very -- he was very demanding upon everybody. And we all agreed that if he
                                       5
                                           needed something, that I would help him.” (J. Bardwell Depo. (3/6/20), attached as
                                       6
                                           Exhibit 1, at 72:14-73:18.)
                                       7
                                                  34.    Bardwell disclosed:
                                       8
                                       9            From the time of the gift (late 2005 and early 2006), through early
                                                    2018, Defendant continued to assist Plaintiff with various aspects
                                      10            of Plaintiff’s myriad of business enterprises and work with Stellar.
                                                    One such project involved Plaintiff’s development project located
                                      11
                                                    in Winterhaven, California, about 25 miles West of Yuma,
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                                      12            Arizona, colloquially referred to as “The Dunes.” Defendant spent
                                                    several years assisting Plaintiff with this project to the detriment of
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                                      13            his health and family life.
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                                      14
                                           (Defendants’ First Amended Mandatory Initial Discovery Responses at 16-17, attached as
                                      15
                                           Exhibit 2.)
                                      16
                                                  35.    Bardwell received no further compensation for more than twelve years of
                                      17
                                           work. (J. Bardwell Depo. (3/6/20), attached as Exhibit 1, at 106:13-110:12.)
                                      18
                                                  36.    During that time, Barwell worked as many as 3,000 hours in a year and
                                      19
                                           sometimes more than 80 hours in a single week. (J. Bardwell Depo. (3/6/20), attached as
                                      20
                                           Exhibit 1, at 105:1-106:4.)
                                      21
                                                  37.    Bardwell claims he did it because he was “thankful.” (J. Bardwell Depo.
                                      22
                                           (3/6/20), attached as Exhibit 1, at 129:17-131:4.)
                                      23
                                                  38.    Bardwell testified:
                                      24
                                                    Q. Do you ever remember telling Ron, hey, I don’t have to do this any
                                      25            more, I’m doing this ‘cause I want to?
                                      26
                                                    A. I never did.
                                      27   (J. Bardwell Depo. (3/6/20), attached as Exhibit 1, at 131:5-7.)
                                      28

                                                                                     6
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                                       1          39.     During that time, Bardwell sought permission from Mr. Pratte regarding his

                                       2   work schedule. (See Paragraphs 40-45 below.)

                                       3          40.     On December 23, 2014, Bardwell wrote, “I am trying to plan a trip to

                                       4   Disney World with my kids on March 6 th thru the 14th. Is it possible to have these days

                                       5   off?” (JB002378, attached as Exhibit 11.)

                                       6          41.     On August 13, 2015, after Mr. Pratte had asked him when he was going to

                                       7   Florida, he wrote, “Sept 4th to 7th. Nothing is set in stone yet. Just talked to Don

                                       8   yesterday about it. Trip does not need to happen if I'm needed here.” (JB002981, attached

                                       9   as Exhibit 12.)

                                      10          42.     On December 4, 2015, he wrote, “I was planning on working at the dunes

                                      11   next week Mon, Tue and Wed. I was talking to Don and he said he was leaving for an
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                                      12   infusion Thursday after work. What days would you like me to be at the dunes? If for
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     Kercsmar & Feltus PLLC




                                      13   some reason I don’t hear from you I will stick with these dates.” (JB003630, attached as
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                                      14   Exhibit 13.)

                                      15          43.     On May 23, 2016, he wrote, “Ron if it is alright with you I would like to

                                      16   work only a couple hours this Friday. Please let me know[.]” (JB003956, attached as

                                      17   Exhibit 14.)

                                      18          44.     On August 15, 2016, he wrote, “Ron. I would like to take off the 25 th and

                                      19   the 26 th of this month. Please let me know. Thanks[.]” (JB004458, attached as Exhibit

                                      20   15.)

                                      21          45.     On February 15, 2017, “Ron it looks like my mom broke two ribs and

                                      22   fractured her hip. She doesn’t seem to be doing well. I would like to work a 1/2 day

                                      23   tomorrow and go see her. Do you think that will be ok? Please let me know[.]”

                                      24   (JB005086, attached as Exhibit 16.)

                                      25          46.     After twelve years, Bardwell quit working for Mr. Pratte. (J. Bardwell

                                      26   Depo. (3/6/20), attached as Exhibit 1, at 166:21-169:14.)

                                      27          47.     Bardwell and Mr. Pratte got in a disagreement and after that, Bardwell

                                      28   would not return Mr. Pratte’s phone calls. (Id.)


                                                                                     7
                                             Case 2:19-cv-00239-GMS Document 56 Filed 12/18/20 Page 8 of 10



                                       1           48.   Bardwell testified:

                                       2             And at that point when I left I was -- I was done. I was totally
                                                     done. I went and dropped -- you know, I had an obligation to take a
                                       3
                                                     trailer and drop it off, because I brought it back with me. So I went
                                       4             to drop the trailer off, like I told him I would drop, ‘cause it was --
                                                     needed repair. So I had to take that trailer in. And that was it.
                                       5
                                       6   (Id.)
                                       7           49.   Bardwell had never seen the gift tax return until his deposition. (J. Bardwell
                                       8   Depo. (3/6/20), attached as Exhibit 1, at 213:5-18.)
                                       9           50.   Former Senior Attorney for the IRS Chief’s Counsel Office, Tim Tarter,
                                      10   explained, “the filing of the Form 709 is consistent with Mr. Pratte making a conditional
                                      11   gift to Mr. Bardwell in exchange for Bardwell’s promise of lifetime employment.
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                                      12   Alternatively, the amounts transferred to Bardwell in 2006 resulted in the formation of a
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                                      13   constructive trust, requiring repayment to Pratte when Bardwell failed to comply with
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                                      14   their oral agreement.” (Expert Report of T. Tarter at 3, attached as Exhibit 17.)
                                      15           51.   Mr. Tarter explained, 26 C.F.R. (Treas. Reg.) § 25.2511-2(a) provides
                                      16   clarification on this point as follows:
                                      17             The gift tax is not imposed upon the receipt of the property by the
                                      18             donee, nor is it necessarily determined by the measure of enrichment
                                                     resulting to the donee from the transfer, nor is it conditioned upon
                                      19             ability to identify the done at the time of the transfer. On the
                                                     contrary, the tax is a primary and personal liability of the donor, is
                                      20             an excise upon his act of making the transfer, is measured by the
                                      21             value of the property passing from the donor, and attaches
                                                     regardless of the fact that the identity of the donee may not then be
                                      22             known or ascertainable.
                                      23
                                           (Expert Report of T. Tarter at 4, attached as Exhibit 17.)
                                      24
                                                   52.   Mr. Tarter explained, by reporting this transfer of wealth to the IRS on
                                      25
                                           Form 709, instead of reporting it as ordinary income to Bardwell, Mr. Pratte paid
                                      26
                                           significantly more tax than he otherwise would have on this transfer:
                                      27
                                                     There was certainly no attempt to evade any taxes or commit fraud
                                      28             by Pratte. To the contrary, Mr. Pratte walked away from a valuable

                                                                                      8
                                            Case 2:19-cv-00239-GMS Document 56 Filed 12/18/20 Page 9 of 10


                                                    business deduction and paid gift taxes on an incomplete or
                                       1            conditional gift to Bardwell, effectively overpaying taxes to the
                                       2            IRS of approximately $3,220,000. Although Mr. Pratte should be
                                                    able to recover the cash and property transferred to Bardwell since
                                       3            his gift was conditional, he is unable to now recover the gift taxes
                                                    he paid to the IRS on these transfers as reported on the Form 709.
                                       4
                                                    See 26 U.S.C. § 6511(a).
                                       5   (Expert Report of T. Tarter at 5, attached as Exhibit 17.)
                                       6
                                       7
                                       8          DATED this 18th day of December, 2020.
                                       9
                                      10                                        KERCSMAR & FELTUS PLLC

                                      11
                                                                           By: s/ Greg Collins
7150 East Camelback Road, Suite 285




                                      12                                       Gregory B. Collins
     Scottsdale, Arizona 85251
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                                                                               7150 East Camelback Road, Suite 285
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                                                                               Scottsdale, Arizona 85251
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                                      14                                       Attorneys for Plaintiff
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                                                                   CERTIFICATE OF SERVICE
                                       1
                                                I certify that on December 18, 2020, I electronically transmitted the foregoing to the
                                       2   Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
                                       3   Electronic Filing to the following:
                                       4
                                           Thomas M. Connelly
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                                      12
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                                      13
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                                      14   s/ Kelli Dunlap

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